Case 3:20-cv-00009-NKM Document 19-1 Filed 03/20/20 Page 1 of 1 Pageid#: 358




                     UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF VIRGINIA
                          CHARLOTTESVILLE DIVISION


   “Baby L.,” a minor, et al.,

                   Plaintiffs,
                                                           Civil Action No. 3:20-cv-9
   v.

   Dr. MARK ESPER, in his official capacity as
         Secretary for the U.S. Department of Defense
         et al.,

                   Defendants.


                                 PROPOSED ORDER

         Upon review of Defendants’ Unopposed Motion to Extend Defendants’ Deadline

  to File Supplemental Response to Plaintiffs’ Motion for Leave to Proceed Using

  Pseudonyms and Motion to Seal, and for good cause shown, it is

         ORDERED that Defendants’ Motion is GRANTED; it is further

         ORDERED that Defendants shall file their supplemental response on or before

  April 6, 2020.

         SO ORDERED.

         Dated: ___________                                ___________________
                                                           Judge Norman K. Moon
